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 8
 9                        UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
12   JOSE MADRIZ,                                Case No.:
13
                 Plaintiff,                      COMPLAINT FOR:
14
        vs.                                 DENIAL OF CIVIL RIGHTS AND
15                                          ACCESS TO PUBLIC FACILITIES
                                            TO PHYSICALLY DISABLED
16                                          PERSONS IN VIOLATION OF THE
     LEE’S DRAGON HOUSE, INC., a            AMERICANS WITH DISABILITIES
17   California corporation; and DOES 1-10, ACT OF 1990, (42 U.S.C. §12101, et
                                            seq.) AND THE UNRUH CIVIL
18                                          RIGHTS ACT, (CALIFORNIA CIVIL
                  Defendants.               CODE §51, et seq.)
19
                                                 DEMAND FOR JURY TRIAL
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                                          COMPLAINT - 1
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 1          Plaintiff JOSE MADRIZ (hereinafter referred to as “Plaintiff”) complains
 2   of LEE’S DRAGON HOUSE, INC., a California corporation; and DOES 1-10
 3   (each, individually a “Defendant” and collectively “Defendants”) and alleges as
 4   follows:
 5                                      I.      PARTIES
 6         1.     Plaintiff JOSE MADRIZ is a California resident and a qualified
 7   physically disabled person. He cannot walk due to paraplegia and uses a
 8   wheelchair for mobility. Plaintiff prides himself on his independence and on
 9   empowering other disabled persons to be independent.
10         2.     Defendants LEE’S DRAGON HOUSE, INC., are and were the
11   owners, operators, lessors and/or lessees of the subject business, property, and
12   facility at all times relevant in this Complaint.
13         3.     Plaintiff does not know the true names of Defendants, their business
14   capacities, their ownership connection to the property and business, or their
15   relative responsibilities in causing the access violations herein complained of, and
16   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
17   informed and believes that each of the Defendants herein, including DOES 1
18   through 10, inclusive, is responsible in some capacity for the events herein alleged,
19   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
20   amend when the true names, capacities, connections, and responsibilities of the
21   Defendants and Does 1 through 10, inclusive, are ascertained.
22         4.     Defendants own and owned the property located at 22456 Alessandro
23   Blvd, Moreno Valley, CA 92553 (“Subject Property”) at all relevant times.
24         5.     Defendants operate and operated restaurant doing business as
25   “DRAGON HOUSE”, located at the Subject Property, at all relevant times.
26         6.     Plaintiff alleges that the Defendants have been and are the owners,
27   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
28   subsidiaries, partner companies and/or joint ventures of each of the other

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 1   Defendants, and performed all acts and omissions stated herein within the course
 2   and scope of such relationships causing the damages complained of herein.
 3                           II.    JURISDICTION AND VENUE
 4          7.     This Court has subject matter jurisdiction over this action pursuant to
 5   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
 6   Disabilities Act of 1990, U.S.C. §12101, et seq.
 7          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
 8   of action, arising out of the same nucleus of operative facts and arising out of the
 9   same transactions, is also brought under California’s Unruh Civil rights Act, which
10   expressly incorporates the Americans with Disabilities Act.
11          9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
12   and is founded on the fact that the real property which is the subject of this action
13   is located in this district and that Plaintiff’s causes of action arose in this district.
14                                         III.   FACTS
15          10.    Plaintiff uses a wheelchair for mobility.
16          11.    Defendants’ business is open to the public, a place of public
17   accommodation, and a business establishment.
18          12.    Plaintiff went to the restaurant on February 1, 2022 to eat.
19          13.    Unfortunately, during Plaintiff’s visit to the restaurant, Defendants did
20   not offer persons with disabilities with equivalent facilities, privileges, advantages,
21   and accommodations offered to other persons.
22          14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
23   the ability to use and enjoy the goods, services, privileges, advantages, and
24   accommodations offered by Defendants at the Subject Property.
25          15.    Parking for patrons visiting the Subject Property is among the
26   facilities, privileges advantages, and accommodations offered by Defendants.
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                                            COMPLAINT - 3
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 1         16.    When parking is provided, there must be at least one marked
 2   accessible parking space designated and marked for disabled persons. 2010 ADA
 3   Standards §502, §208.2; CBC §11B-208.2; §11B-502.
 4         17.    Plaintiff needs such an accessible space to ensure that he can exit and
 5   enter his vehicle.
 6         18.    However, there is no accessible parking for disabled persons and/or
 7   the parking spaces designated for disabled person do not comply with the
 8   Americans with Disabilities Act (“ADA”). The parking area also does not comply
 9   with the latest California Building Codes (“2019 CBC Code”).
10         19.    The paint used for the designated accessible parking space was badly
11   faded and cannot be clearly seen. There is no way to determine the actual
12   dimensions of the space. The International Access Symbol was so faded and worn
13   it cannot be clearly seen. ADA 2010 §502.3.3, §502.6; 2019 CBC 11B-502.3.3,
14   11B 502.6.
15         20.    The parking spaces adjacent loading and unloading access aisle did
16   not say “No Parking” or the paint is so faded and worn it cannot be read. ADA
17   2010 §502.3.3; 2019 CBC 11B-502.3.3.
18         21.    There is no ADA compliant “Van Accessible” parking signage. ADA
19   2010 §502.6; 2019 CBC 11B-502.6.
20         22.    The restrooms do not comply with the Americans with Disabilities
21   Act (“ADA”) and its latest Standards (“2010 ADA Standards”). The restrooms also
22   do not comply with the latest California Building Codes (“2019 CBC”).
23         23.    Where restrooms are provided, each restroom must be accessible.
24   2010 ADA Standards §213.2; 2019 CBC 11B-213.2. Among other requirements,
25   there must be sufficient clearance around a water closet and no obstructions within
26   that clearance space. Here, however, a urinal is installed obstructing the clearance
27   space around the water closet. 2010 ADA Standards §603; §604.1, §604.8; 2019
28   CBC 11B-603; 11B-604.1; 11B-604.8.

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 1          24.    None of the tables at the restaurant are accessible to a person in a
 2   wheelchair. Where dining surfaces are provided for the consumption of food and
 3   drink, at least 5% of those must be accessible. There must be minimum dimensions
 4   for the clearance under an accessible dining table so that the legs and toes of a
 5   person in a wheelchair can fit under the table. 2010 ADA Standards §226.1;
 6   §306.2.3; §902; 2019 CBC 11B-226.1; 11B-306.2.3; 11B-902.
 7          25.    Plaintiff personally encountered these barriers.
 8          26.    These inaccessible conditions denied Plaintiff full and equal access
 9   and caused him difficulty, humiliation, and frustration.
10          27.    The barriers existed during Plaintiff’s visit to the restaurant on
11   February 1, 2022.
12          28.    Plaintiff alleges that Defendants knew that the architectural barriers
13   prevented equal access. Plaintiff will prove that Defendants had actual knowledge
14   that the architectural barriers prevented equal access and that the noncompliance
15   with the Americans with Disabilities Act and Title 24 of the California Building
16   Code regarding accessible features was intentional.
17          29.    Plaintiff intends to return to Defendants’ public accommodation
18   facilities in the near future. Plaintiff is currently deterred from returning because of
19   the knowledge of barriers to equal access that continue to exist at Defendants’
20   facilities that relate to Plaintiff’s disabilities.4
21          30.    Defendants have failed to maintain in working and useable conditions
22   those features necessary to provide ready access to persons with disabilities. 28
23   C.F.R. §36.211(a).
24          31.    Defendants have the financial resources to remove these barriers
25   without much expense or difficulty in order to make their Property more accessible
26   to their mobility impaired customers. These barriers are readily achievable to
27   remove. The United States Department of Justice has identified that these types of
28   barriers are readily achievable to remove.

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 1             32.   To date, Defendants refuse to remove these barriers, in violation of
 2   the law, willfully depriving disabled persons including Plaintiff of important civil
 3   rights.
 4             33.   On information and belief, the Plaintiff alleges that the Defendants’
 5   failure to remove these barriers was intentional because the barriers are logical and
 6   obvious. During all relevant times Defendants had authority, control and dominion
 7   over these conditions and therefore the absence of accessible facilities was not a
 8   mishap but rather an intentional act.
 9             34.   The barriers to access are listed above without prejudice to Plaintiff
10   citing additional barriers to access by an amended complaint after inspection by
11   Plaintiff’s access consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir.
12   2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier
13   One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011). All of these barriers to
14   access render the premises inaccessible to physically disabled persons who are
15   mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter when
16   he returns to the premises. All facilities must be brought into compliance with all
17   applicable federal and state code requirements, according to proof.
18                                 FIRST CAUSE OF ACTION
19                   Violation of the Americans With Disabilities Act of 1990
20                                   (42 U.S.C. §12101, et seq.)
21                                    (Against All Defendants)
22             35.   Plaintiff alleges and incorporates by reference, as if fully set forth
23   again herein, each and every allegation contained in all prior paragraphs of this
24   complaint.
25             36.   More than thirty years ago, the 101st United States Congress found
26   that although “physical or mental disabilities in no way diminish a person’s right to
27   fully participate in all aspects of society, yet many people with physical or mental
28   disabilities have been precluded from doing so because of discrimination…in such

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 1   critical areas as employment, housing, public accommodations, education,
 2   transportation, communication, recreation, institutionalization, health services,
 3   voting, and access to public services.” 42 U.S.C. §12101(a).
 4         37.    In 1990 Congress also found that “the Nation’s proper goals regarding
 5   individuals with disabilities are to assure equality of opportunity, full participation,
 6   independent living, and economic self-sufficiency for such individuals,” but that
 7   “the continuing existence of unfair and unnecessary discrimination and prejudice
 8   denies people with disabilities the opportunity to compete on an equal basis and to
 9   pursue those opportunities for which our free society is justifiably famous.” 42
10   U.S.C. §12101(a).
11         38.    In passing the Americans with Disabilities Act of 1990, which was
12   signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
13   “ADA”), Congress stated as its purpose:
14         “It is the purpose of this Act
15
           (1) to provide a clear and comprehensive national mandate for the
16         elimination of discrimination against individuals with disabilities;
17
           (2) to provide clear, strong, consistent, enforceable standards
18         addressing discrimination against individuals with disabilities;
19
           (3) to ensure that the Federal Government plays a central role in
20         enforcing the standards established in this Act on behalf of individuals
21         with disabilities; and

22         (4) to invoke the sweep of congressional authority, including the power
23         to enforce the fourteenth amendment and to regulate commerce, in
           order to address the major areas of discrimination faced day to-day by
24         people with disabilities.”
25
     42 USC §12101(b).
26
27         39.    As part of the ADA, Congress passed “Title III – Public
28   Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et

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 1   seq.). Title III of the ADA prohibits discrimination against any person “on the
 2   basis of disability in the full and equal enjoyment of the goods, services, facilities,
 3   privileges, advantages, or accommodations of any place of public accommodation
 4   by any person who owns, leases (or leases to), or operates a place of public
 5   accommodation.” 42 U.S.C. §12182(a).
 6         40.    The specific prohibitions against discrimination include, inter alia, the
 7   following:
 8      • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
 9        shall be discriminatory to afford an individual or class of individuals,
          on the basis of a disability or disabilities of such individual or class,
10        directly, or through contractual, licensing, or other arrangements, with
11        the opportunity to participate in or benefit from a good, service, facility,
          privilege, advantage, or accommodation that is not equal to that
12        afforded to other individuals.”
13
        • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
14        modifications in policies, practices, or procedures when such
15        modifications are necessary to afford such goods, services, facilities,
          privileges, advantages, or accommodations to individuals with
16        disabilities...;”
17
        • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
18        necessary to ensure that no individual with a disability is excluded,
19        denied service, segregated, or otherwise treated differently than other
          individuals because of the absence of auxiliary aids and services...;”
20
21      • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
          barriers, and communication barriers that are structural in nature, in
22
          existing facilities... where such removal is readily achievable;”
23
24      • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
          the removal of a barrier under clause (iv) is not readily achievable, a
25        failure to make such goods, services, facilities, privileges, advantages,
26        or accommodations available through alternative methods if such
          methods are readily achievable.”
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                                          COMPLAINT - 8
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 1         41.    Plaintiff is a qualified individual with a disability as defined in the
 2   Rehabilitation Act and in the Americans with Disabilities Act of 1990.
 3         42.    The acts and omissions of Defendants set forth herein were in
 4   violation of Plaintiff’s rights under the ADA and the regulations promulgated
 5   thereunder, 28 C.F.R. Part 36 et seq.
 6         43.    The removal of each of the physical and policy barriers complained of
 7   by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
 8   achievable” under the standards of §12181 and §12182 of the ADA. Removal of
 9   each and every one of the architectural and/or policy barriers complained of herein
10   was already required under California law. Further, on information and belief,
11   alterations, structural repairs or additions since January 26, 1993, have also
12   independently triggered requirements for removal of barriers to access for disabled
13   persons per §12183 of the ADA. In the event that removal of any barrier is found
14   to be “not readily achievable,” Defendants still violated the ADA, per
15   §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
16   and accommodations through alternative methods that were “readily achievable.”
17         44.    On information and belief, as of the date of Plaintiff’s encounter at the
18   premises and as of the filing of this Complaint, Defendants’ actions, policies, and
19   physical premises have denied and continue to deny full and equal access to
20   Plaintiff and to other mobility disabled persons in other respects, which violate
21   Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
22   the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
23   enjoyment of the goods, services, facilities, privileges, advantages and
24   accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
25         45.    Defendants’ actions continue to deny Plaintiff’s rights to full and
26   equal access and discriminated and continue to discriminate against him on the
27   basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
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                                          COMPLAINT - 9
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 1    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
 2    accommodations, in violation of the ADA, 42 U.S.C. §12182.
 3           46.    Further, each and every violation of the Americans With Disabilities
 4    Act of 1990 also constitutes a separate and distinct violation of California Civil
 5    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
 6    damages and injunctive relief pursuant to California law, including but not limited
 7    to Civil Code §54.3 and §55.
 8                              SECOND CAUSE OF ACTION
 9                           Violation of the Unruh Civil Rights Act
10                             (California Civil Code §51, et seq.)
11                                   (Against All Defendants)
12           47.    Plaintiff alleges and incorporates by reference, as if fully set forth
13    again herein, each and every allegation contained in all prior paragraphs of this
14    complaint.
15           48.    California Civil Code §51 provides that physically disabled persons
16    are free and equal citizens of the state, regardless of their medical condition or
17    disability:
18           All persons within the jurisdiction of this state are free and equal, and
             no matter what their sex, race, color, religion, ancestry, national origin,
19
             disability, or medical condition are entitled to full and equal
20           accommodations, advantages, facilities, privileges, or services in all
             business establishments of every kind whatsoever.
21
22    California Civil Code §51(b) (emphasis added).
23           49.    California Civil Code §51.5 also states, in part: “No business,
24    establishment of any kind whatsoever shall discriminate against…any person in
25    this state on account” of their disability.
26           50.    California Civil Code §51(f) specifically incorporates (by reference)
27    an individual’s rights under the ADA into the Unruh Act.
28

                                           COMPLAINT - 10
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 1          51.    California Civil Code §52 provides that the discrimination by
 2    Defendants against Plaintiff on the basis of his disability constitutes a violation of
 3    the general antidiscrimination provisions of §51 and §52.
 4          52.    Each of Defendants’ discriminatory acts or omissions constitutes a
 5    separate and distinct violation of California Civil Code §52, which provides that:
 6          Whoever denies, aids or incites a denial, or makes any discrimination
            or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
 7
            every offense for the actual damages, and any amount that may be
 8          determined by a jury, or a court sitting without a jury, up to a maximum
            of three times the amount of actual damage but in no case less than four
 9
            thousand dollars ($4,000), and any attorney’s fees that may be
10          determined by the court in addition thereto, suffered by any person
11          denied the rights provided in Section 51, 51.5, or 51.6.

12          53.    Any violation of the Americans with Disabilities Act of 1990
13    constitutes a violation of California Civil Code §51(f), thus independently
14    justifying an award of damages and injunctive relief pursuant to California law,
15    including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
16    individual under the Americans with Disabilities Act of 1990 (Public Law 101-
17    336) shall also constitute a violation of this section.”
18          54.    The actions and omissions of Defendants as herein alleged constitute a
19    denial of access to and use of the described public facilities by physically disabled
20    persons within the meaning of California Civil Code §51 and §52.
21          55.    As a proximate result of Defendants’ action and omissions,
22    Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
23    §52, and are responsible for statutory, compensatory and actual damages to
24    Plaintiff, according to proof.
25                                     PRAYER FOR RELIEF
26           Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
27    forth in this Complaint. Plaintiff has suffered and will continue to suffer
28    irreparable injury as a result of the unlawful acts, omissions, policies, and

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 1    practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
 2    he requests. Plaintiff and Defendants have an actual controversy and opposing
 3    legal positions as to Defendants’ violations of the laws of the United States and
 4    the State of California.
 5          The need for relief is critical because the civil rights at issue are paramount
 6    under the laws of the United States of America and the State of California.
 7          WHEREFORE, Plaintiff prays judgment against Defendants, and each of
 8    them, as follows:
 9                1.      Issue a preliminary and permanent injunction directing
10          Defendants as current owners, operators, lessors, and/or lessees of the
11          Subject Property and premises to modify the above described property,
12          premises, policies and related facilities to provide full and equal access
13          to all persons, including persons with physical disabilities; and issue a
14          preliminary and permanent injunction pursuant to ADA §12188(a) and
15          state law directing Defendants to provide facilities and services usable
16          by Plaintiff and similarly situated persons with disabilities, and which
17          provide full and equal access, as required by law, and to maintain such
18          accessible facilities once they are provided; to cease any discriminatory
19          policies; and to train Defendants’ employees and agents how to
20          recognize disabled persons and accommodate their rights and needs;
21                2.      Retain jurisdiction over the Defendants until such time as
22          the Court is satisfied that Defendants’ unlawful policies, practices, acts
23          and omissions, and maintenance of physically inaccessible public
24          facilities and policies as complained of herein no longer occur, and
25          cannot recur;
26                3.      Award to Plaintiff all appropriate damages, including but
27          not limited to actual and statutory damages according to proof;
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                                          COMPLAINT - 12
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 1               4.      Award to Plaintiff all reasonable attorney fees, litigation
 2          expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
 3          California Civil Code §52; and
 4               5.      Grant such other and further relief as this Court may deem
 5          just and proper.
 6
 7    DATED: March 11, 2022                        VALENTI LAW APC
 8
 9                                            By: /s/ Matt Valenti
10                                                Matt Valenti, Esq.
                                                  Attorney for Plaintiff
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                                         COMPLAINT - 13
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 1                                    JURY DEMAND
 2          Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3    jury is permitted.
 4
 5
 6    DATED: March 11, 2022                        VALENTI LAW APC
 7
 8                                            By: /s/ Matt Valenti
 9                                                Matt Valenti, Esq.
                                                  Attorney for Plaintiff
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                                        COMPLAINT - 14
